This is an application for a writ of mandate requiring the defendant, a judge of the superior court, to grant to the plaintiff permission to institute an action against E.J. Le Breton, as receiver of the California Safe Deposit and Trust Company, an insolvent corporation. The proceeding was instituted in the district court of appeal for the first appellate district, and, after judgment by that court denying the application for a writ, the matter was ordered transferred to this court for determination.
The facts here presented differ in no essential respect from those which were before us in DeForrest v. Coffey, 154 Cal. 444, [98 P. 27], decided since the making of the order transferring this proceeding from the district court of appeal, and on the grounds set forth in the opinion there filed, it must be held that the superior court did not abuse its discretion in denying leave to sue the receiver.
It is ordered that the application for a writ of mandate be denied.
Beatty, C.J., dissented. *Page 103 